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                         Exhibit F
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


 LONE STAR TECHNOLOGICAL
 INNOVATIONS, LLC,                           Civil Action No. 6:19-CV-00059-RWS

               Plaintiff,                         JURY TRIAL DEMANDED

       v.

 ASUSTEK COMPUTER INC.,

               Defendant.

            DEFENDANT ASUSTEK COMPUTER INC.’S TRIAL EXHIBIT LIST
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   Defendant ASUSTeK Computer Inc., pursuant to the Court’s October 6, 2020 Second Amended

   Docket Control Order, hereby submits this Exhibit List for those issues on which Defendant does

   not bear the burden of proof. Defendant reserves the right to rely on any exhibits identified by

   Plaintiff. For the sake of convenience, this list includes the Exhibits Defendant identified to

   Plaintiff on March 23, 2021.

    Judge Robert W. Schroeder III                      PLAINTIFF’S ATTORNEY                     DEFENDANT’S ATTORNEY
                                                                                                Vinay V. Joshi/Andrew T. Oliver
    TRIAL DATE (S)                                     COURT REPORTER                           COURTROOM DEPUTY

    PL / Def.        DATE
                                    ADMITTED                         DESCRIPTION OF EXHIBITS*
    No.             OFFERED
   DX-1                                        U.S. Patent No. 6,724,435
   DX-2                                        Prosecution History File for U.S. Patent No. 6,724,435
   DX-3                                        U.S. Patent No. 6,122,012
   DX-4                                        Prosecution History File for U.S. Patent No. 6,122,012
   DX-5                                        U.S. Patent No. 7,714,938
   DX-6                                        Curriculum Vitae of Dr. Robert Louis Stevenson
   DX-7                                        List of Prior Engagements Dr. Robert Louis Stevenson
   DX-8                                        U.S. Patent No. 5,452,018
   DX-9                                        U.S. Patent No. 5,850,471
   DX-10                                       U.S. Patent No. 5,930,009
   DX-11                                       U.S. Patent No. 6,476,793
   DX-12                                       U.S. Patent No. 6,535,301
   DX-13                                       U.S. Patent No. 6,259,428
   DX-14                                       U.S. Patent No. 5,995,164
   DX-15                                       U.S. Patent No. 5,051,928
   DX-16                                       U.S. Patent No. 5,905,094
   DX-17                                       Studio Display User’s Manual; Apple Computer, Inc. 1998
   DX-18                                       Polaroid Polaview 330 LCD Projector, 1998
   DX-19                                       July 31, 2020 Claim Construction Order, ECF No. 105
   DX-20                                       Lone Star’s Opening Claim Construction Brief, Case No. 6:15-cv-00973,
                                               ECF No. 50, with attachments (ECF Nos. 50-1 through 50-8)

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   DX-21                   Lone Star Infringement Chart ’435 Patent vs. Barco MDSC-2232
   DX-22                   Lone Star Infringement Chart ’012 Patent vs. Barco MDSC-2232
   DX-23                   Curriculum Vitae of Brett L. Reed
   DX-24                   ASUS Sales Data (ASUSL00412)
   DX-25                   ASUS/Magnacross LLC Settlement and Non-Exclusive Patent License
                           Agreement (ASUSLS00413-426)

   DX-26                   ASUS/Iris Connec LLC Non-Exclusive Patent License and Settlement
                           Agreement (ASUSLS00427-447)
   DX-27                   ASUS/Wireless Concinnitas Technologies LLC License Agreement
                           (ASUSLS00448-457)
   DX-28                   ASUS Unopposed Motion for Entry of Judgment as to Corydoras
                           Technologies, LLC (ASUSLS00458-467)
   DX-29                   Judgment Corydoras Technologies, LLC v. ASUSTeK Computer Inc.
                           (ASUSLS00468-470)

   DX-30                   Lone Star/Acer America Corporation Patent License and Settlement
                           Agreement (LSTI00201-211)

   DX-31                   Lone Star/Sharp Electronics Corporation and Sharp Corporation Patent
                           License and Settlement Agreement (LSTI00212-222)
   DX-32                   Lone Star/NEC Corporation and NEC Display Solutions Patent License
                           and Settlement Agreement (LSTI00223-234)
   DX-33                   “An Economic Perspective on Patent Licensing Structure and
                           Provisions,”, Thomas R. Varner, Business
                           Economics, Vol. 46, No. 4 (2011), pp. 229–238.
   DX-34                   Intellectual Property: Valuation Exploitation and Infringement Damages,
                           Gordon V. Smith, and Russell L.
                           Parr, pp. 649-650.
   DX-35                   LES High Tech Sector Royalty Rates & Deal Terms Survey Report 2017

   DX-36                   https://www.ip.philips.com/licensing/program/117/tv-set-top-boxes

   DX-37                   Royalty Rate Structure for HEVC Advance Licensees Effective July 1,
                           2020

   DX-38                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=111352

   DX-39                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=105025


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   DX-40                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=96694
   DX-41                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=67989

   DX-42                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=9772


   DX-43                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=9670

   DX-44                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=25745
   DX-45                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=74891

   DX-46                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=81349

   DX-47                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=101887

   DX-48                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=11007
   DX-49                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=56404

   DX-50                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=105919

   DX-51                   https://scholar.google.com/scholar_case?case=2570397237511139499&
                           q=chimei+&hl=en&as_ sdt=6,43
   DX-52                   Universal Display Corp. 10-K for Period Ending 12/31/2012

   DX-53                   License Agreement between Motorola, Inc. and Universal Display Corp.,
                           9/27/2000
   DX-54                   Acer Annual Report 2015

   DX-55                   Acer Annual Report 2016

   DX-56                   Acer Annual Report 2017

   DX-57                   Acer Annual Report 2018

   DX-58                   Acer Annual Report 2019

   DX-59                   ASUS Annual Report 2017

   DX-60                   ASUS Annual Report 2018

   DX-61                   ASUS Annual Report 2019



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   DX-62                   Acer Quarterly Report Q2 2020

   DX-63                   https://www.acer.com/ac/en/MY/press/2015/153926

   DX-64                   https://www.acer.com/ac/en/MY/press/2015/157378

   DX-65                   https://www.displayninja.com/acer-xg270hu-review/


   DX-66                   https://www.displayninja.com/best-gaming-monitor/

   DX-67                   https://www.ip.philips.com/data/downloadables/2/0/2/0/tv_stb-patent-
                           list.pdf
   DX-68                   https://www.amazon.com/Acer-Curved-34-inch-UltraWide-
                           Display/dp/B0111MRT90
   DX-69                   https://www.bestbuy.com/site/acer-xg270hu-27-led-qhd-freesync-g-
                           sync-monitor-blackorange/
                           4434101.p?skuId=4434101
   DX-70                   https://www.newegg.com/black-metallic-gray-acer-xr341ck-bmijpphz-
                           34/p/N82E16824106002#

   DX-71                   https://www.technicolor.com/hdr
   DX-72                   https://www.technicolor.com/hdr/ce-manufacturers

   DX-73                   https://www.acer.com/ac/en/US/content/group/monitors
   DX-74                   https://www.asus.com/us/

   DX-75                   https://www.asus.com/us/Monitors/ROG-SWIFT-PG278QR/

   DX-76                   https://www.asus.com/us/ROG-Republic-Of-Gamers/ROG-SWIFT-
                           PG279Q/
   DX-77                   https://www.asus.com/us/Monitors/VG245H/

   DX-78                   https://www.asus.com/us/Monitors/VG248QE/

   DX-79                   https://www.asus.com/us/Monitors/VG278Q/
   DX-80                   https://www.asus.com/us/Monitors/ProArt-PA248Q/

   DX-81                   https://www.asus.com/us/Monitors/ProArt-PA328Q/

   DX-82                   https://www.asus.com/us/Monitors/ROG-Strix-XG32VQ/

   DX-83                   https://www.asus.com/us/Monitors/VS247HP/


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   DX-84                   https://www.asus.com/us/Monitors/VS248HP/?SearchKey=vs248h-/
   DX-85                   https://www.asus.com/us/Monitors/VP247QG/

   DX-86                   https://www.asus.com/us/Monitors/MB169BPlus/

   DX-87                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/PG278QR/PG27
                           8QR_English_V1.pdf

   DX-88                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/PG279/PG279_
                           English.pdf

   DX-89                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/VG245/VG245_
                           English.pdf
   DX-90                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/VG248/VG248_
                           English.pdf

   DX-91                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/VG278/VG278_
                           English.pdf
   DX-92                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/PA248Q/PA248
                           _English.pdf

   DX-93                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/PA328/PA328_
                           English.pdf
   DX-94                   https://dlcdnets.asus.com/pub/ASUS/mb/idx/CNL/ROG_STRIX_XG32
                           VQ_XG32VQR_XG35VQ_English.pdf

   DX-95                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/ASUS_VS228V
                           S238VS247_English.pdf

   DX-96                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/VS248/VS248_
                           English.pdf

   DX-97                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/VP247/VP247_
                           english_20171114.pdf

   DX-98                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/MB169B/MB16
                           9_English.pdf
   DX-99                   https://www.synnexcorp.com/us/about/locations/

   DX-100                  https://www.synnexcorp.com/us/about/

   DX-101                  https://www.synnexcorp.com/us/govsolv/




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   DX-102                  https://www.malabs.com/company/aboutus.php

   DX-103                  https://www.malabs.com/company/contactus.php

   DX-104                  https://corp.ingrammicro.com/About-Us/At-a-Glance/By-the-
                           Numbers.aspx

   DX-105                  https://corp.ingrammicro.com/Contact-Us/Map-of-Locations.aspx


   DX-106                  PG278QR Overview and Specifications
                           (https://www.asus.com/us/Monitors/ROG-SWIFT-PG278QR/)
   DX-107                  PG278QR User Manual
                           (https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/PG278QR/PG2
                           78QR_English_V1.pdf)
   DX-108                  PG279Q Overview and Specifications (https://www.asus.com/us/ROG-
                           Republic-Of-Gamers/ROG-SWIFT-PG279Q/)

   DX-109                  PG279Q User Manual
                           (https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/PG279/PG279_
                           English.pdf)

   DX-110                  VG245H Overview and Specifications
                           (https://www.asus.com/us/Monitors/VG245H/)

   DX-111                  VG245H User Manual
                           (https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/VG245/VG245
                           _English.pdf)
   DX-112                  VG248QE Overview and Specifications
                           (https://www.asus.com/us/Monitors/VG248QE/)

   DX-113                  VG248QE User Manual
                           (https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/VG248/VG248
                           _English.pdf)
   DX-114                  VG278Q Overview and Specifications
                           (https://www.asus.com/us/Monitors/VG278Q/)

   DX-115                  VG278Q User Manual
                           (https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/VG278/VG278
                           _English.pdf)

   DX-116                  PA248Q Overview and Specifications
                           (https://www.asus.com/us/Monitors/ProArt-PA248Q/)



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   DX-117                  PA248Q User Manual
                           (https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/PA248Q/PA24
                           8_English.pdf)

   DX-118                  PA328Q Overview and Specifications
                           (https://www.asus.com/us/Monitors/ProArt-PA328Q/)

   DX-119                  PA328Q User Manual
                           (https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/PA328/PA328_
                           English.pdf)
   DX-120                  XG32VQ Overview and Specifications
                           (https://www.asus.com/us/Monitors/ROG-Strix-XG32VQ/)

   DX-121                  XG32VQ User Manual
                           (https://dlcdnets.asus.com/pub/ASUS/mb/idx/CNL/ROG_STRIX_XG32
                           VQ_XG32VQR_XG35VQ_English.pdf)

   DX-122                  VS247H-P Overview and Specifications
                           (https://www.asus.com/us/Monitors/VS247HP/)

   DX-123                  VS247H-P User Manual
                           (https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/ASUS_VS228
                           VS238VS247_English.pdf)
   DX-124                  VS248H-P Overview and Specifications
                           (https://www.asus.com/us/Monitors/VS248HP/?SearchKey=vs248h-/)

   DX-125                  VS248H-P User Manual
                           (https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/VS248/VS248_
                           English.pdf)

   DX-126                  VP247QG Overview and Specifications
                           (https://www.asus.com/us/Monitors/VP247QG/)

   DX-127                  VP247QG User Manual
                           (https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/VP247/VP247_
                           english_20171114.pdf)

   DX-128                  MB169B+ Overview and Specifications
                           (https://www.asus.com/us/Monitors/MB169BPlus/)

   DX-129                  MB169B+ User Manual
                           (https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/MB169B/MB1
                           69_English.pdf)
   DX-130                  Lone Star Technological Innovations, LLC v Acer, Inc. and Acer
                           America Corporation complaint, Case No. 6:15-cv-00973, ECF No. 1,
                           filed November 10, 2015

                                                                                      8
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    DX-131                 Acer Press Release, "Acer Launches Gaming Monitor Enabled by AMD
                           FreeSync Technology," 3/23/2015
                           (https://www.acer.com/ac/en/MY/press/2015/153926)
    DX-132                 Acer Press Release, "Acer Launches World’s First Curved Monitor with
                           NVIDIA G-SYNC Technology," 4/23/2015
                           (https://www.acer.com/ac/en/MY/press/2015/157378)
    DX-133                 https://fred.stlouisfed.org/series/AEXTAUS (annual 2016-2019)

    DX-134                 https://fred.stlouisfed.org/series/EXTAUS (2020 exchange rate is
                           average of monthly rates for Jan-August)
    DX-135                 Plaintiff Lone Star Technological Innovations LLC’s July 27, 2020
                           Response to ASUSTeK Computer Inc.’s First Set of Interrogatories



    Dated: April 6, 2021               Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

         I, Michael C. Ting, hereby certify that on April 6, 2021, I emailed the foregoing document on

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